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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division



 ROBERT BRUNELLE,

               Plaintiff,

 V.                                                      CIVIL ACTION NO. 2:18cv290


 NORFOLK SOUTHERN RAILWAY CO.,

               Defendant.



                           MEMORANDUM OPINION and ORDER


        This    matter     comes     before        the    court       on     the   Defendant's


 Motion    to    Dismiss,      ECF    No.     13,        and    accompanying             Brief   in

 Support, ECF No. 14, filed on August 8, 2018. The matter has now

 been   fully      briefed    and    is     ripe    for      review.        For    the     reasons

 below, the Defendant's Motion to Dismiss is DENIED.

                         I. FACTUAL AND PROCEDURAL HISTORY


          Defendant        Norfolk         Southern          Railway         Co.         {^^Norfolk

 Southern") employs Plaintiff Robert Brunelle                              (^^Brunelle") as a

 Brandt    Truck     Operator.       Am.    Compl.       5     3,    ECF    No.    10.    Because

 Brunelle's     work      includes    commercial          truck      driving,       the     United

 States Department of Transportation ("DOT") requires Brunelle to

 comply     with     commercial       driving        regulations.            Id.    SI    8.     DOT

 promulgates these          commercial driving               regulations       through         their

 subagency,        the    Federal     Motor        Carrier          Safety    Administration

 ("FMCSA"). FMCSA regulations require Brunelle to undergo routine
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 medical    examinations               to    be     certified             as    physically             fit    to

 operate a commercial vehicle. Id. f 10.

       A medical professional examined Brunelle on July 14, 2017,

 and   diagnosed           him     with        chronic             inflammatory            demyelinating

 polyneuropathy and diabetes. Id. f 15. Despite this diagnosis,

 Brunelle       alleges           that         he     ''passed                all      Department             of

 Transportation        physical             examinations            and       received       his       Medical

 Examiner    Certicates           . . .             Id.       SI    13.    When      Norfolk          Southern

 learned of Brunelle's diagnosis, however, they removed him from

 his work and ordered him to provide Norfolk Southern's medical

 department with his complete medical records. Id. SI 17. Brunelle

 complied with these requests. Id. SI 18. He alleges that "[a]t no

 time did Norfolk Southern's medical department or anyone on its

 behalf     . . .      issue        to       Brunelle          or        to     the    Department             of

 Transportation        a        medical      opinion       that          Brunelle          was    medically

 unqualified pursuant to Department of Transportation regulations

 to hold and maintain any required licenses for a Brandt Truck

 Operator."      Id.       SI    14.     Despite         no        negative          medical          opinion,

 Brunelle    was     not reinstated to               work          until       six   months       after      his


 removal,      and   Norfolk           Southern      has           not    paid       him    for       the    six

 months during which he was laid off. Id. SI 21.

       Brunelle filed his Complaint in this court on May 30, 2018,

 and   filed    an   Amended           Complaint      on           August 8,         2018.       He    alleges

 violations     of    the        Americans        with    Disabilities                Act    ("ADA")         for
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 his removal and six-month layoff, and demands several remedies

 from    this     court,    namely that:          he   be   reinstated;      his employee

 record be expunged of misconduct pursuant to this incident; and

 he be awarded compensatory and punitive damages. Id. SI 32.

        Norfolk Southern responded to Brunelle's Amended Complaint

 by filing the instant Motion                 to Dismiss, alleging two grounds

 for dismissal: (1) the court lacks subject matter jurisdiction

 because Brunelle failed to exhaust FMCSA administrative remedies


 prior      to   filing    suit;     and    (2)    Brunelle    has    not    sufficiently

 alleged that he           is physically qualified to                drive for Norfolk

 Southern, and thus he is not a ''qualified individual" as defined

 by the ADA.

        The      Court    DENIES     Norfolk       Southern's       Motion     to   Dismiss


 because the facts in Brunelle's Amended Complaint, viewed in the

light most favorable to Brunelle, sufficiently allege that FMCSA

 administrative          remedies    were    inadequate       and    that    Brunelle      was

 physically qualified to drive a commercial vehicle.

                                    II. LEGAL STANDARD


        A   motion   to    dismiss     pursuant to          Rule    12(b)(1)   challenges

the     court's     subject    matter       jurisdiction      over    a   case.     Fed.   R.

 Civ. P. 12(b)(1). A defendant may challenge the court's subject

 matter jurisdiction in one of two ways: (1) the defendant may

raise a "facial challenge" by arguing that the facts alleged in

a     complaint      are      not     sufficient        to    confer      subject matter
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 jurisdiction              on    the    court          or    (2)   the      defendant            may       raise   a

      actual          challenge"         by        arguing           that        the        jurisdictional

 allegations made in the complaint are not true. Kerns v. United

 States,          585       F.3d      187,     192          (4th     Cir.       2009).       In        a    facial

 challenge, the court evaluates the facts in a complaint using

 the same standard                   used for          a Rule      12(b)(6)        motion         to dismiss.

 See id. Specifically, all alleged facts are taken as true and

 the motion must be denied if the complaint alleges facts that,

 if proven, would be sufficient to sustain jurisdiction. See id.

 In    a    factual          challenge,            a    trial        court       may     """go    beyond       the

 allegations            of      the    complaint             and     in    an    evidentiary               hearing

 determine            if    there      are     facts          to   support         the      jurisdictional

 allegations." Id.

           In     this       case,      Norfolk             Southern's           Motion          to        Dismiss,

 ECF No. 13, and its accompanying Brief in Support, ECF No. 14,

 rely       primarily           on     the    facts          alleged        in    Brunelle's               Amended

 Complaint.            See Def.'s            Br.       Supp.       at     2-5.     Moreover,               Norfolk

 Southern         affirmatively waived oral hearing on                                  this Motion and

 submitted its Motion to the Court for ruling without a hearing.

 ECF No. 19. Because                   there       will      be    no evidentiary                hearing,       the

 Court          has    no       opportunity            to    consider        any       factual             disputes

 Norfolk         Southern        may    wish       to       raise.      Thus, the Court concludes

 that Norfolk Southern has raised a facial challenge to subject

 matter jurisdiction                   and,    accordingly,               will    accept as            true    all
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facts alleged in Brunelle's Amended Complaint for the purposes

 of determining whether the court has subject matter jurisdiction

 over this claim.


      Norfolk Southern also raises a claim for dismissal pursuant

 to   Rule      12(b)(6),       which     states     that       a    complaint       must    be

 dismissed when a plaintiff s allegations fail to state a claim

 upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). ""To

 survive a motion to dismiss, a complaint must contain sufficient

 factual matter, accepted as true, to                     ^state a claim to relief

 that is plausible on its face.'" Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

 544, 570 (2007)). To evaluate a Rule 12(b)(6) motion, the court

 accepts facts alleged in the complaint as true and views those

 facts     in       the   light    most     favorable       to      the     plaintiff.      See

 Venkatraman         v.   REI   Sys.,     Inc.,    417    F.3d      418,    420   (4th      Cir.

 2005).

                                     III. ANALYSIS


                          A. Rule 12(b)(1) Motion to Dimiss

      Norfolk         Southern     argues     that       this       Court    lacks    subject

 matter    jurisdiction           because    Brunelle       failed         to   exhaust      his

 administrative remedies prior to filing suit. FMCSA regulations

 provide        a    dispute-resolution           procedure          for    employers        and

 employees to go through when two different medical professionals

 have reached opposite conclusions about an employee's physical
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 fitness.      See 49 C.F.R. § 391.47.             Norfolk      Southern       contends    that

 Brunelle was required to pursue this FMCSA remedy before filing

 the instant suit.


         It is a ^^long-settled rule of judicial administration that

 no     one    is    entitled       to    judicial       relief    for     a    supposed     or

 threatened injury until the prescribed administrative remedy has

 been    exhausted." Cavalier             Tel.,    LLC    v.    Virginia Elec.        &   Power

 Co.f    303    F.3d     316,       322   (4th     Cir.    2002)    (quoting         Myers   v.

 Bethlehem          Shipbldq.       Corp.,       303     U.S.     41,     50-51       (1938)).

 Exhaustion         is   not    required,          however,       where     the      available

 administrative remedy is ^^inappropriate" or                      inadequate." Greene

 V. United States, 376 U.S. 149, 163 (1964). An administrative

 remedy is          inadequate" when there is ^^some doubt as to whether

 the agency [is] empowered to grant effective relief." Gibson v.

 Berryhill, 411 U.S. 564, 575, n. 14.

         In this case, FMCSA dispute resolution is not an adequate

 administrative          remedy.         As   an   initial        matter,       Brunelle     is

 ineligible to receive FMCSA dispute resolution because he cannot

 produce       conflicting      medical        opinions        regarding       his    physical

 fitness. Applications made to FMCSA for dispute resolution ''will

 only     be    accepted       if    they     conform      to     the     requirements       of

[§ 391.47]." 49 C.F.R. § 391.47(a). One such requirement is that

"[t]he applicant must submit proof that there is a disagreement

 between the physician for the driver and the physician for the
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 motor carrier concerning the driver's qualifications." 49 C.F.R.

§ 391.47(b)(2).

        Based on the facts in Brunelle's Amended Complaint, which

 the    court   accepts      as   true     for   the    purposes    of   this     facial

 challenge      to   subject      matter    jursidciton,      Brunelle       could     not

 produce such proof. Brunelle               alleges that 'Ma]t no time                 did

 Norfolk Southern's medical department or anyone on its behalf .

      . issue to Brunelle or to the Department of Transportation a

 medical opinion that Brunelle was medically unqualified pursuant

 to     Department     of      Transportation          regulations

 Am. Compl. SI 14. Without a negative medical opinion from Norfolk

 Southern    regarding Brunelle's physical qualification, Brunelle

 has no ''proof" that there was a disagreement between physicians

 regarding       his       physical      qualifications.           See   49       C.F.R.

 § 391.47(b)(2). Instead, Brunelle received only positive medical

 opinions of his physical fitness. See Am. Compl. SI 13 (Brunelle

 "passed all Department of Transportation physical examinations

 and    received     his    Medical   Examiner's        Certificates     .    .    .   .")

 Because    Norfolk        Southern   never      raised   a   conflicting         medical

 opinion, there is no difference of opinion for FMCSA to review

 and resolve. See Lisotto v. New Prime, Inc., 647 F. App'x 259,

 264 (4th Cir. 2016) (per curiam) (FMCSA review under § 391.47 is

 not available unless there are conflicting medical opinions).
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      Further, it is not clear that FMCSA review                              would provide

 Brunelle    an    adequate          remedy    for    his    alleged      injury.         In   his

 Amended Complaint, Brunelle demanded that he be reinstated, that

 his employee record be expunged of misconduct, and that he be

 awarded    compensatory          and    punitive      damages.         Am.   Compl.       SI 32.

 FMCSA review is merely a process for resolving disputes between

 medical    examiners          about    a     driver's      physical      qualifications.

 Nothing in § 391.47 empowers the FMCSA to reinstate Brunelle or

 to grant any of the other remedies Brunelle demands from this

 Court.    See    49     C.F.R.      § 391.47.       Because      the    remedy      available

 through FMCSA review is inadequate to afford Brunelle the relief

 sought from this Court, his suit cannot be dismissed for failure

 to   exhaust      his    administrative            remedies.      See    Hill       v.    Houff


 Transfer, Inc., No. 3:12cv357, 2012 WL 5194080, at *5 (E.D. Va.

 Oct. 19, 2012) (motion to dismiss plaintiff's ADA claim pursuant

 to Rule    12(b)(1)       denied even          though      plaintiff     had     not sought

 FMCSA    review       prior    to     filing       suit    because      plaintiff        sought

 ^^remedies only available through the ADA—not remedies available

 under     the     DOT     review       procedure.")          Accordingly,           dismissal

 pursuant to Rule 12(b)(1) would not be proper.

                       B. Rule 12(b)(6) Motion to Dismiss

      Norfolk Southern contends that dismissal is proper on the

 alternative      grounds       of    Rule    12(b)(6)      for    failure      to    state     a

 claim upon which relief may be granted. Norfolk Southern argues

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 that,      because              Brunelle             did         not        pursue        the        FMCSA

 dispute-resolution procedures of 49 C.F.R. § 391.47, there is no

 binding determination of whether Brunelle is physically capable

 of driving for Norfolk Southern, and Brunelle therefore cannot

 sufficiently          allege      that          he    is     a    ''qualified        individual"        as

 required        to        plead        a    prima            facie       case        of    disability

 discrimination under the ADA.


       To     establish             a       prima            facie       case         of    disability

 discrimination under the ADA, a plaintiff must prove that (1) he

 has   a    disability,           (2)       he    is     a    "qualified         individual,"           and

 (3) his employer took an adverse employment action against him

 because of his disability. See Martinson v. Kinney Shoe Corp.,

 104 F.3d 683, 686 (4th Cir. 1997). Under the ADA, a "qualified

 individual"          is    a     person         who,        "with      or    without       reasonable

 accommodation,            can     perform            the     essential         functions        of    the

 employment position that such 'individual holds or desires." 42

 U.S.C. §        12111(8)         (2012).         FMCSA       regulations        equate      "physical

 qualification"            of    drivers         with       passage      of     all    FMCSA-required

 medical exams. 49 C.F.R. § 391.47(g). The question of whether a

 driver     is     a       "qualified            individual"            under     the      ADA    should

 therefore       turn      on     whether         the       driver      has     passed     all    FMCSA-

 required    medical            exams.      See       Myers       v.   J.B.   Hunt     Tranp.,        Inc.,

No. I:05cv717, 2006 WL 3479001, at *3 (M.D.N.C. Nov. 30, 2006).

Accordingly, where a plaintiff can sufficiently allege that he
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 or     she    has        passed        all       FMCSA-required           medical        exams,        the

 plaintiff's failure to pursue dispute resolution under 49 C.F.R.

 §    391.47       cannot    be     the       basis      of   a    Rule        12(b)(6)      motion        to

 dismiss. See Hill, No. 3:12cv357, 2012 WL 5194080, at *5.

        In     this       case,      Brunelle            alleges         that    he     ""passed        all

 Department of Transportation physical examinations and received

 his Medical Examiner's Certificates . . . ."Am. Compl. SI 13. He

 also    alleges         that     Norfolk         Southern        ordered        him    to     give     his

 complete          medical        records           to     Norfolk         Southern's               medical

 department, that he complied with this order, and that he was

 reinstated         to     work     six       months      later.         Am.    Compl.       SIS!    17-21.

 Norfolk Southern            argues that its request to review Brunelle's

 medical      records        was equivalent               to Brunelle           failing      a      medical

 exam,       and    that     this       failed      medical        exam    creates        uncertainty

 about Brunelle's physical fitness.

        However,           Norfolk        Southern's          mere         request        to         review

 Brunelle's medical records, viewed in the light most favorable

 to   nonmoving          party,     Brunelle,         for     this       Rule    12(b)(6)           motion,

 does    not       constitute       a    failed       medical       exam.       FMCSA     regulations

 differentiate           between    a     failed      medical exam             and a    determination


 that    a    medical       exam     should         remain        open    pending       review        of   a

 driver's          medical      records.           Compare        49     C.F.R.        § 391.43(g)(3)

 (standard          for      failing          a     medical        exam)         with     49         C.F.R.

 § 391.43(g)(4) (procedures for delaying final determination in a

                                                     10
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 driver's medical exam pending receipt of the driver's medical

 records). If Norfolk Southern's request for Brunelle's medical

 records       was a ^'medical exam" as defined by FMCSA regulations,

 then     it    remained      ongoing      while       Norfolk      Southern        reviewed

 Brunelle's      medical    records     and     deferred      issuing    an    opinion     on

 his physical qualification.

        Moreover,    Norfolk     Southern       reinstated Brunelle            to    work at

 the end of his six-month layoff. Am. Compl. ^ 21. Viewing this

 fact in the light most favorable to the nonmoving party, Norfolk

 Southern put Brunelle back to work because Norfolk Southern's

 medical       department      concluded        that    Brunelle        was    physically

 qualified to drive. See 49 C.F.R. § 391.11 (''[A] motor carrier

 shall not . . . permit a person to drive a commercial motor

 vehicle unless that person is qualified to drive"). There are no

 facts in Brunelle's Amended Complaint from which the court can

 conclude that Brunelle failed Norfolk Southern's medical exam.


        Thus,     according    to    the   facts       in    the   Amended     Complaint,

 Brunelle       passed   all   medical      exams      and,    therefore,           has   been

 adjudged ''physically         qualified"        by    all    medical      examiners       who

 have examined him. See 49 C.F.R. § 391.43(g)(2)(i). These facts

 sufficiently allege that Brunelle is a "qualified individual" as

 is required to maintain a prima facie case under the ADA. See

 Myers,    No.     I:05cv717,       2006   WL    3479001,      at    *3.      Accordingly,

 dismissal pursuant to Rule 12(b)(6) would not proper.

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                                  IV. CONCLUSION


       For the reasons set forth above, Norfolk Southern's Motion

 to   Dismiss is DENIED.^   The   court DIRECTS the       Clerk to forward     a


 copy of    this   Memorandum   Opinion   and   Order     to   counsel for   all

 parties.

       IT IS SO OIUDERED.




                                                    Is/
                                        Rebecca Beach Smith
                                      -m- Chief Judge
                                    REBECCA BEACH SMITH
                                    CHIEF JUDGE




 September jLClr 2018




     ^ On September 12, 2018, Plaintiff's Objection to Exhibit A
to   Norfolk    Southern's   Reply   in   Response   to  Plaintiff's
Opposition     to    Norfolk    Southern's    Motion    to   Dismiss
(^^Objection"), was filed. EOF No. 20. Given the denial of the
Motion to Dismiss, and that it was unnecessary to consider
Exhibit A     to   Norfolk  Southern's   Reply in    rendering this
decision. Plaintiff's Objection is DIMISSED as moot.

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